Case 1:11-cr-00027-HSO-RHW   Document
         Case 3:20-mj-00026-UNA       83 *SEALED*
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Case 1:11-cr-00027-HSO-RHW   Document
         Case 3:20-mj-00026-UNA       83 *SEALED*
                                 Document          FiledPage
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           Case 3:20-mj-00026-UNA
Case 1:11-cr-00027-HSO-RHW         Document
                              Document        1 05/22/20
                                       83-1 *SEALED*       Page
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                    CaseCase
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                                                                     Page 4 of 161 of 6
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                         Southern District of Mississippi
                                                                          )
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                          v.                                              )
           SIRVETUS LAMONT RATCLIFF                                       )
                                                                                  Case Number:             1:11cr27WJG-RHW-1
                a/k/a Sirvetus Ratcliff                                   )
                                                                          )       USM Number:              05015-043
                                                                          )
                                                                          )       Michael W. Crosby
                                                                                  Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s)       2 of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
  21 U.S.C. § 841(a)(1)          Possession with Intent to Distribute 50 Kilograms or More of
                                 Marijuana                                                                     2/28/2011                   2




       The defendant is sentenced as provided in pages 2 through                 6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)               1 of the Indictment                is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          November 2, 2011
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                          Walter J. Gex III - United States Senior District Judge
                                                                          Name and Title of Judge


                                                                          November 2, 2011
                                                                          Date
                     CaseCase
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AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 — Imprisonment
                                                                                                      Judgment — Page     2       of   6
DEFENDANT:                     RATCLIFF, Sirvetus Lamont
CASE NUMBER:                   1:11cr27WJG-RHW-1


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


60 months.


          The court makes the following recommendations to the Bureau of Prisons:
          Defendant’s placement in an institution nearest his family for which eligible and his participation in the Bureau of
          Prison’s 500-hour drug abuse program.



          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

              at                                       a.m.         p.m.       on                                             .

              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              before 12 p.m. on                                            .

              as notified by the United States Marshal.

              as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                      CaseCase
                           1:11-cr-00027-HSO-RHW
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                          Judgment—Page       3     of         6
DEFENDANT:                     RATCLIFF, Sirvetus Lamont
CASE NUMBER:                   1:11cr27WJG-RHW-1
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Three years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                          Judgment—Page   4     of      5
DEFENDANT:                RATCLIFF, Sirvetus Lamont
CASE NUMBER:              1:11cr27WJG-RHW-1

                                        SPECIAL CONDITIONS OF SUPERVISION
1. Defendant shall provide the United States Probation Office [USPO] with access to any requested financial information.
2. Defendant shall participate in a program of testing and/or treatment for drug abuse as directed by the USPO until such
time as Defendant is released from the program by the USPO. Defendant shall contribute to the costs of such treatment to the
extent that Defendant is deemed capable by the USPO.
3. Defendant shall submit his person, residence, office or vehicle to a search, conducted by the USPO at a reasonable time
and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Defendant shall warn any other residents of his home that the premises may be subject to searches pursuant to this
condition. Failure to submit to a search may be grounds for revocation of supervised release.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                  Judgment — Page      5      of        6
DEFENDANT:                        RATCLIFF, Sirvetus Lamont
CASE NUMBER:                      1:11cr27WJG-RHW-1
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                    Fine                                 Restitution
TOTALS            $ 100.00                                       $ waived                             $ n/a


     The determination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                     Restitution Ordered                   Priority or Percentage




TOTALS                              $                                   $


     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the         fine          restitution.

          the interest requirement for the           fine      restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                    CaseCase
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments
                                                                                                               Judgment — Page       6      of          6
DEFENDANT:                  RATCLIFF, Sirvetus Lamont
CASE NUMBER:                1:11cr27WJG-RHW-1

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A         Lump sum payment of $                    100.00        due immediately, balance due

                 not later than                                     , or
                 in accordance                C,            D,        E, or          F below; or

B         Payment to begin immediately (may be combined with                    C,           D, or         F below); or

C         Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
CM/ECF LIVE - U.S. District Court: Mississippi Southern District       https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?445774036851002-L_1_0-1
                             Case 3:20-mj-00026-UNA                Document 1     05/22/20 Page 10 of 16
                                                                                CLOSED,ALL_DRUGS_MINUS_TWO,RHW

                                            U.S. District Court
                                 Southern District of Mississippi (Southern)
                         CRIMINAL DOCKET FOR CASE #: 1:11-cr-00027-HSO-RHW-1


         Case title: USA v. Ratcliff et al                                          Date Filed: 03/22/2011
         Magistrate judge case number: 1:11-mj-00015-JMR                            Date Terminated: 11/04/2011


         Assigned to: District Judge Halil S.
         Ozerden
         Referred to: Magistrate Judge Robert H.
         Walker

         Defendant (1)
         Sirvetus Lamont Ratcliff                                   represented by Michael W. Crosby
         TERMINATED: 11/04/2011                                                    MICHAEL W. CROSBY, ATTORNEY
         also known as                                                             2111 25th Avenue
         Sirvetus Ratcliff                                                         Gulfport, MS 39501
         TERMINATED: 11/04/2011                                                    228-865-0313
                                                                                   Fax: 228-865-0337
                                                                                   Email: michaelwcrosby@bellsouth.net
                                                                                   ATTORNEY TO BE NOTICED
                                                                                   Designation: Retained

         Pending Counts                                                             Disposition
         CONTROLLED SUBSTANCE - SELL,                                               60 months BOP custody; 3 years
         DISTRIBUTE, OR DISPENSE                                                    supervised release; $100 special
         (2)                                                                        assessment.

         Highest Offense Level (Opening)
         Felony

         Terminated Counts                                                          Disposition
         CONSPIRACY TO POSSESS
         CONTROLLED SUBSTANCE                                                       Dismissed.
         (1)

         Highest Offense Level (Terminated)
         Felony

         Complaints                                                                 Disposition
         21:846=CD.F, 21:841A=CD.F



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                             Case 3:20-mj-00026-UNA                Document 1     05/22/20 Page 11 of 16


         Interested Party
         Probation Gulfport



         Interested Party
         Probation Officer Jason Alexis



         Interested Party
         Ellen Allred                                               represented by Ellen Maier Allred - FPD
                                                                                   FEDERAL PUBLIC DEFENDER -
                                                                                   Gulfport
                                                                                   2510 14th Street, Suite 902
                                                                                   Gulfport, MS 39501
                                                                                   228/865-1202
                                                                                   Fax: 228/867-1907
                                                                                   Email: ellen_allred@fd.org
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED



         Plaintiff
         USA                                                        represented by John A. Meynardie-Federal Gov
                                                                                   U. S. ATTORNEY'S OFFICE - Gulfport
                                                                                   1575 20th Avenue
                                                                                   Gulfport, MS 39501
                                                                                   228/563-1560
                                                                                   Fax: 228/563-1571
                                                                                   Email: john.meynardie@usdoj.gov
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                    Annette Williams-Federal Gov
                                                                                    U. S. ATTORNEY'S OFFICE - Gulfport
                                                                                    1575 20th Avenue
                                                                                    Gulfport, MS 39501
                                                                                    228/563-1560
                                                                                    Fax: 228/563-1571
                                                                                    Email: annette.williams2@usdoj.gov
                                                                                    ATTORNEY TO BE NOTICED


          Date Filed          #   Docket Text
          03/02/2011              Attorney update in case as to Sirvetus Ratcliff, Omar Nelson. Attorney John A.
                                  Meynardie for USA added. (Regenold, Sheryal) [1:11-mj-00015-JMR] (Entered:
                                  03/02/2011)


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          03/02/2011          1 COMPLAINT as to Sirvetus Ratcliff (1), Omar Nelson (2). (Regenold, Sheryal) [1:11-
                                mj-00015-JMR] (Entered: 03/02/2011)
          03/03/2011              Minute Entry for proceedings held before Magistrate Judge John M. Roper:Initial
                                  Appearance as to Sirvetus Ratcliff held on 3/3/2011. Defendants were sworn, advised
                                  of his rights and the charges and penalties pending. Defendant appeared with his
                                  retained counsel, Michael Crosby and entered a Waiver of Court Appointed Counsel.
                                  The Government moved for detention and a hearing has been set for 3/4/2010 at 9:30
                                  am. The Defendant was remanded to the custody of the US Marshal. APPEARANCES:
                                  Andrea Jones, AUSA; Scott Dial/Mason Williams, USM; Sandra Doll, USPO; Jim
                                  Steuble, CSO; Jenny Nicaud, Court Recorder. (Tape #dated 3/3/2011) (Regenold,
                                  Sheryal) [1:11-mj-00015-JMR] (Entered: 03/03/2011)
          03/03/2011          6 MOTION to Suppress Statements by Michael W. Crosby as to Sirvetus Ratcliff.
                                (Crosby, Michael) Modified on 3/4/2011 to edit filing parties (avm). [1:11-mj-00015-
                                JMR] (Entered: 03/03/2011)
          03/03/2011              Minute Entry for proceedings held before Magistrate Judge John M. Roper:Initial
                                  Appearance as to Sirvetus Ratcliff held on 3/3/2011. Defendant appearing with his
                                  retained counsel, Michael Crosby, was sworn, advised of his rights and the charges and
                                  penalties pending. The Defendant executed a Waiver of Court Appointed Counsel. The
                                  Government moved for detention and the Court entered an Order setting the hearing for
                                  March 4, 2011 at 9:30 am. The Defendant was remanded to the custody of the US
                                  Marshal. APPEARANCES: Andrea Jones, AUSA; Sandra Doll, USPO; Scott Dial/Ivy
                                  Jenkins, USM; Jim Steuble, CSO; Jenny Nicaud, Court Recorder. (Tape #dated
                                  3/4/2011) (Regenold, Sheryal) [1:11-mj-00015-JMR] (Entered: 03/03/2011)
          03/03/2011              DOCKET ANNOTATION as to Minute Entry regarding initial appearance. This entry
                                  was entered twice in error. (Regenold, Sheryal) [1:11-mj-00015-JMR] (Entered:
                                  03/03/2011)
          03/03/2011          4 WAIVER of Court Appointed Counsel by Sirvetus Ratcliff (Regenold, Sheryal) [1:11-
                                mj-00015-JMR] (Entered: 03/03/2011)
          03/03/2011              Attorney update in case as to Sirvetus Ratcliff. Attorney Michael W. Crosby for
                                  Sirvetus Ratcliff added. (Regenold, Sheryal) [1:11-mj-00015-JMR] (Entered:
                                  03/03/2011)
          03/03/2011          5 ORDER OF TEMPORARY DETENTION as to Sirvetus Ratcliff. Detention Hearing
                                set for 3/4/2011 09:30 AM before Magistrate Judge John M. Roper. Signed by
                                Magistrate Judge John M. Roper on 3/3/2011 (Regenold, Sheryal) [1:11-mj-00015-
                                JMR] (Entered: 03/03/2011)
          03/04/2011              DOCKET ANNOTATION as to #6: document is filed only on behalf of Ratcliff; court
                                  staff edited the docket entry to remove defendant Nelson. Attorney is also advised that
                                  document is corrupted, although legible. (avm) [1:11-mj-00015-JMR] (Entered:
                                  03/04/2011)
          03/04/2011              Minute Entry for proceedings held before Magistrate Judge John M. Roper:Preliminary
                                  Hearing/Detention Hearing as to Sirvetus Ratcliff held on 3/4/2011. Government called
                                  Craig Shows, BPD assigned to DEA Task Force. PTSR entered as Exhibit G-1.
                                  Defendant questions Sandra Doll, USPO. The Court finds probable cause and no
                                  conditions for release. Order of Detention entered and the Court was remanded to the
                                  custody of the US Marshal. APPEARANCES: Gaines Cleveland, AUSA; Michael


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                                  Crosby, Ret. Counsel; Sandra Doll, USPO; Scott Dial/Marcus Bass, USM; Jim Steuble,
                                  CSO; Jenny Nicaud, Court Recorder. (Tape #dated 3/4/2011) (Regenold, Sheryal)
                                  [1:11-mj-00015-JMR] (Entered: 03/04/2011)
          03/04/2011          8 ORDER OF DETENTION as to Sirvetus Ratcliff. Signed by Magistrate Judge John M.
                                Roper on 3/4/2011 (Regenold, Sheryal) [1:11-mj-00015-JMR] (Entered: 03/04/2011)
          03/16/2011         10 Arrest Warrant Returned Executed on 3/3/2011 in case as to Sirvetus Ratcliff. (avm)
                                [1:11-mj-00015-JMR] (Entered: 03/16/2011)
          03/22/2011         11 Redacted Indictment as to Sirvetus Lamont Ratcliff (1) count(s) 1, 2, Omar Lawarren
                                Nelson (2) count(s) 1, 2. (Attachments: # 1 Criminal Cover Sheet Ratcliff, # 2 Criminal
                                Cover Sheet Nelson) (avm) (Entered: 03/23/2011)
          03/22/2011         12 RESTRICTED DOCUMENT (Unredacted Indictment) as to Sirvetus Lamont Ratcliff,
                                Omar Lawarren Nelson. (Attachments: # 1 Criminal Cover Sheet Ratcliff, # 2 Criminal
                                Cover Sheet Nelson)(avm) (Entered: 03/23/2011)
          03/22/2011         13 Praecipe for Summons by USA as to Sirvetus Lamont Ratcliff. (avm) (Entered:
                                03/23/2011)
          03/28/2011              Set/Reset Hearings as to Sirvetus Lamont Ratcliff, Omar Lawarren Nelson: Initial
                                  Appearance/Arraignment set for 3/29/2011 09:00 AM in Courtroom 881 (Gulfport)
                                  before Magistrate Judge John M. Roper. (Regenold, Sheryal) (Entered: 03/28/2011)
          03/29/2011              Reset Hearings as to Sirvetus Lamont Ratcliff: At the request of counsel for the
                                  Defendant, the Arraignment reset for 4/5/2011 09:30 AM in Courtroom 881 (Gulfport)
                                  before Magistrate Judge John M. Roper. (Regenold, Sheryal) (Entered: 03/29/2011)
          03/31/2011              Reset Hearings as to Sirvetus Lamont Ratcliff: Arraignment reset for 4/5/2011 02:00
                                  PM in Courtroom 881 (Gulfport) before Magistrate Judge John M. Roper. THIS IS A
                                  TIME CHANGE ONLY (Regenold, Sheryal) (Entered: 03/31/2011)
          04/05/2011              Minute Entry for proceedings held before Magistrate Judge John M.
                                  Roper:Arraignment as to Sirvetus Lamont Ratcliff (1) Count 1,2 held on 4/5/2011.
                                  Defendant was sworn and advised of his rights. Defendant plead not guilty and order
                                  for discovery and trial order entered. Defendant was remanded to the custody of the
                                  U.S. Marshal. APPEARANCES: John Meynardie, AUSA; Michael Crosby, retained
                                  counsel for defendant, Melanie Rube/Charles Kaes, USM; Alfred Reyer, CSO; Robyn
                                  Gulledge/Matthew Sones, USPO, JD Johnson,Court Recorder (Tape dated 4/5/11)
                                  (PKS) (Entered: 04/05/2011)
          04/05/2011         24 TRIAL ORDER as to Sirvetus Lamont Ratcliff: Jury Trial set for 6/6/2011 10:00 AM
                                in Courtroom 583 (Gulfport) before District Judge Walter J. Gex III. Motion
                                Dispositive Deadline due by 5/9/2011. Motion N-Dispositive Deadline due by
                                5/2/2011. Instruction/Exhibit/Witness List due by 6/1/2011. Plea Agreement due by
                                5/19/2011. Signed by Magistrate Judge John M. Roper on 4/5/11 (PKS) (Entered:
                                04/06/2011)
          04/05/2011         25 ORDER Regarding Discovery as to Sirvetus Lamont Ratcliff. Signed by Magistrate
                                Judge John M. Roper on 4/5/11 (PKS) (Entered: 04/06/2011)
          04/21/2011         27 Summons Returned Executed on 3/31/2011 as to Sirvetus Lamont Ratcliff. (avm)
                                (Entered: 04/21/2011)




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CM/ECF LIVE - U.S. District Court: Mississippi Southern District       https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?445774036851002-L_1_0-1
                             Case 3:20-mj-00026-UNA                Document 1     05/22/20 Page 14 of 16

          05/03/2011         28 MOTION for Extension of Time to File Non-Dispositive Motions by Michael W.
                                Crosby as to Sirvetus Lamont Ratcliff (Crosby, Michael) (Entered: 05/03/2011)
          05/04/2011              DOCKET ANNOTATION as to # 28: : PDF attached to this entry is illegible/corrupted.
                                  Attorney is advised to correct the error by refiling the document. Court staff will term
                                  the pending motion. (avm) (Entered: 05/04/2011)
          05/05/2011         29 MOTION for Extension of Time to File Non-dispositive by Michael W. Crosby as to
                                Sirvetus Lamont Ratcliff (Crosby, Michael) (Entered: 05/05/2011)
          05/06/2011              DOCKET ANNOTATION as to #29: incorrect case number; attorney is directed to
                                  correct the error in future filings. Also, document contains blank page(s). PDF
                                  documents should be checked for errors before filing. It is not necessary to refile. (avm)
                                  (Entered: 05/06/2011)
          05/09/2011              TEXT ONLY ORDER granting 29 Motion for Extension of Time to File Non-
                                  Dispositive Motions as to Sirvetus Lamont Ratcliff (1). Non-dispositive motions shall
                                  be filed on or before 5/9/2011. No further written order will issue. Signed by Magistrate
                                  Judge Robert H. Walker on May 9, 2011 (King, Steve) (Entered: 05/09/2011)
          05/09/2011              Set/Reset Deadlines as to Sirvetus Lamont Ratcliff: Motion N-Dispositive Deadline due
                                  by 5/9/2011 (King, Steve) (Entered: 05/09/2011)
          05/09/2011         30 MOTION for Extension of Time to File Motions by Michael W. Crosby as to Sirvetus
                                Lamont Ratcliff (Crosby, Michael) Modified on 5/10/2011 (avm). (Entered:
                                05/09/2011)
          05/10/2011         31 MOTION To Allow Defendant to Keep a Copy of His File by Michael W. Crosby as to
                                Sirvetus Lamont Ratcliff (Crosby, Michael) (Entered: 05/10/2011)
          05/10/2011              DOCKET ANNOTATION as to #30: court staff has termed the motion for acquital
                                  inadvertently included in this docket entry. (avm) (Entered: 05/10/2011)
          05/10/2011              TEXT ONLY ORDER regarding Defendant Sirvetus Lamont Ratcliff. Defendant's
                                  motion for an extension of the dispositive motion deadline to May 13, 2011, is granted.
                                  No further extension of this deadline shall be granted. Defendant shall withdraw and
                                  refile his motion 6 to suppress, or file a correction and revision of that motion by no
                                  later than May 13, 2011. The Court will defer ruling on Defendant's request for a
                                  second extension of the non-dispositive motion deadline as this matter is properly
                                  before Magistrate Judge Walker. No further written order shall issue. Signed by District
                                  Judge Walter J. Gex III on May 10, 2011. (Gex, Kathleen) (Entered: 05/10/2011)
          05/11/2011              NOTICE OF HEARING as to Sirvetus Lamont Ratcliff Telephonic Status Conference
                                  set for 5/11/2011 02:30 PM before Magistrate Judge Robert H. Walker. The Court will
                                  initiate the conference call. (SR) (Entered: 05/11/2011)
          05/11/2011         32 RESPONSE in Opposition by USA as to Sirvetus Lamont Ratcliff re 6 MOTION to
                                Suppress Statements (Meynardie, John) (Entered: 05/11/2011)
          05/11/2011              Minute Entry for proceedings held before Magistrate Judge Robert H. Walker:Status
                                  Conference as to Sirvetus Lamont Ratcliff held on 5/11/2011. Discussed pending
                                  motions and the possibility of a plea. The Court will conduct a follow-up conference
                                  5/12/2011 at 1:00 p.m. for a status on plea negotiations. (SR) (Entered: 05/11/2011)




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CM/ECF LIVE - U.S. District Court: Mississippi Southern District       https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?445774036851002-L_1_0-1
                             Case 3:20-mj-00026-UNA                Document 1     05/22/20 Page 15 of 16

          05/11/2011              NOTICE OF HEARING ON MOTION in case as to Sirvetus Lamont Ratcliff 30
                                  MOTION for Acquittal MOTION for Extension of Time to File Motions, 31 MOTION
                                  To Allow Defendant to Keep a Copy of His File : Motion Hearing set for 5/12/2011
                                  01:00 PM before Magistrate Judge Robert H. Walker (SR) (Entered: 05/11/2011)
          05/12/2011              Remark: Michael Crosby attorney for Sirvetus Lamont Ratcliff informed the Court that
                                  his client has reached a plea agreement and that the pending motions are now moot.
                                  (SR) (Entered: 05/12/2011)
          05/12/2011              Terminate Deadlines and Hearings as to Sirvetus Lamont Ratcliff: Motion hearing set
                                  for 5/12/2011 at 1:00 p.m. (SR) (Entered: 05/12/2011)
          05/12/2011         33 NOTICE of Intent to Plead Guilty by Sirvetus Lamont Ratcliff (Crosby, Michael)
                                (Entered: 05/12/2011)
          05/12/2011              TEXT ONLY ORDER finding as moot 30 Motion for Extension of Time to File
                                  Motions as to Sirvetus Lamont Ratcliff (1); finding as moot 31 Motion to Allow
                                  Defendant to Keep a Copy of His File as to Sirvetus Lamont Ratcliff (1). Counsel for
                                  defendant has represented to the court that in light of his client's intent to enter a guilty
                                  plea, the motions are now moot. No further written order will issue. Signed by
                                  Magistrate Judge Robert H. Walker on May 12, 2011 (King, Steve) (Entered:
                                  05/12/2011)
          05/12/2011              TEXT ONLY ORDER regarding Defendant Sirvetus Lamont Ratcliff. Pursuant to the
                                  notice 33 of intent to plead guilty filed by Defendant Sirvetus Lamont Ratcliff,
                                  Defendant's Change of Plea Hearing is hereby set for Monday, June 6, 2011, at 10:30
                                  AM in Courtroom 583 (Gulfport) before District Judge Walter J. Gex III. No further
                                  written order shall issue. Signed by District Judge Walter J. Gex III on May 12, 2011.
                                  (Gex, Kathleen) (Entered: 05/12/2011)
          05/12/2011              Terminate Deadlines and Hearings as to Sirvetus Lamont Ratcliff: Trial setting
                                  terminated. (Gex, Kathleen) (Entered: 05/12/2011)
          05/13/2011              DOCKET ANNOTATION as to #33: Attorney is advised to use the correct judge
                                  assignment of WJG-RHW on future filed pleadings. (PKS) (Entered: 05/13/2011)
          06/06/2011         36 NOTICE OF ATTORNEY APPEARANCE Annette Williams appearing for USA.
                                (Williams, Annette) (Entered: 06/06/2011)
          06/10/2011         37 Minute Entry for proceedings held before District Judge Walter J. Gex III: Change of
                                Plea Hearing concerning Sirvetus Lamont Ratcliff continued in open Court on June 6,
                                2011. Defendant's Change of Plea Hearing re-set for Monday, August 1, 2011, at 10:00
                                AM in Courtroom 583 (Gulfport) before District Judge Walter J. Gex III. See Minute
                                Entry for complete text. (Court Reporter Teri Norton, (228) 563-1748) (Gex, Kathleen)
                                (Entered: 06/10/2011)
          07/19/2011         40 MOTION to Withdraw Document S 6, 30, & 31 by Michael W. Crosby as to Sirvetus
                                Lamont Ratcliff (Crosby, Michael) (Entered: 07/19/2011)
          07/20/2011              TEXT ONLY ORDER granting the motion 40 to withdraw documents (motions) 6, 30,
                                  and 31, filed by Defendant Sirvetus Lamont Ratcliff (1). Signed by District Judge
                                  Walter J. Gex III on July 20, 2011. (Gex, Kathleen) (Entered: 07/20/2011)
          08/01/2011         42 NOTICE OF ASSIGNMENT (PROBATION) Officer Jason Alexis as to Sirvetus
                                Lamont Ratcliff. Probation Officer Sandra Doll is no longer assigned to this defendant.



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CM/ECF LIVE - U.S. District Court: Mississippi Southern District        https://ecf.mssd.uscourts.gov/cgi-bin/DktRpt.pl?445774036851002-L_1_0-1
                             Case 3:20-mj-00026-UNA                Document 1        05/22/20 Page 16 of 16

                                  (PKS) (Entered: 08/01/2011)
          08/01/2011         44 Minute Entry for proceedings held before District Judge Walter J. Gex III: Change of
                                Plea Hearing regarding Defendant Sirvetus Lamont Ratcliff held August 1, 2011. Plea
                                entered by Defendant Sirvetus Lamont Ratcliff (1): Guilty to Count 2 of the Indictment.
                                Defendant's Sentencing set for Wednesday, October 26, 2011, at 10:15 AM in
                                Courtroom 583 (Gulfport)before District Judge Walter J. Gex III. See Minute Entry for
                                complete text. (Court Reporter Kati Vogt, (228) 563-1751) (Gex, Kathleen) Modified
                                on 8/4/2011 (Gex, Kathleen). (Entered: 08/03/2011)
          08/01/2011         45 PLEA AGREEMENT concerning Defendant Sirvetus Lamont Ratcliff (1). (Gex,
                                Kathleen) Modified on 8/4/2011 (Gex, Kathleen). (Entered: 08/03/2011)
          10/24/2011              TEXT ONLY ORDER concerning DefendantSirvetus Lamont Ratcliff: Counsel for
                                  Defendant has moved ore tenus for a brief continuance of Defendant's sentencing
                                  hearing, currently set for October 26, 2011, to obtain additional information necessary
                                  to prepare for Defendant's hearing. The Court hereby grant's Defendant's motion;
                                  Defendant's Sentencing is rescheduled for Wednesday, November 2, 2011, at 2:15 PM
                                  in Courtroom 583 (Gulfport) before District Judge Walter J. Gex III. No further written
                                  order shall issue. Signed by District Judge Walter J. Gex III on October 24, 2011. (Gex,
                                  Kathleen) Modified on 10/24/2011 (Gex, Kathleen). (Entered: 10/24/2011)
          11/02/2011         56 Minute Entry for proceedings held before District Judge Walter J. Gex III: Sentencing
                                held November 2, 2011, for Defendant Sirvetus Lamont Ratcliff (1). SENTENCE:
                                Count 2, 60 months BOP custody; 3 years supervised release; $100 special assessment.
                                Count 1, Dismissed on motion of the United States. Defendant was remanded to the
                                custody of USMS pending transportation to designated institution. See Minute Entry
                                for complete text. (Court Reporter Kati Vogt, (228) 563-1751) (Gex, Kathleen)
                                (Entered: 11/03/2011)
          11/02/2011         57 *RESTRICTED* STATEMENT OF REASONS concerning Defendant Sirvetus
                                Lamont Ratcliff. (Gex, Kathleen) (Entered: 11/03/2011)
          11/03/2011         58 PRESENTENCE INVESTIGATION REPORT (Sealed) concerning Defendant Sirvetus
                                Lamont Ratcliff. (Attachments: # 1 Addendum to PSR.) (Gex, Kathleen) (Entered:
                                11/03/2011)
          11/04/2011         59 JUDGMENT as to Sirvetus Lamont Ratcliff (1), Count(s) 1:, Dismissed.; Count(s) 2:
                                60 months BOP custody; 3 years supervised release; $100 special assessment. Signed
                                by District Judge Walter J. Gex, III on 11/2/11 (PKS) (Entered: 11/04/2011)
          01/10/2012         60 Judgment Returned Executed as to Sirvetus Lamont Ratcliff on 12/13/11 (RLW)
                                (Entered: 01/10/2012)
          04/15/2014         75 ORDER REASSIGNING CASE. Case reassigned to District Judge Halil S. Ozerden
                                for all further proceedings. District Judge Walter J. Gex, III, Chief District Judge Louis
                                Guirola, Jr no longer assigned to case. Signed by Chief District Judge Louis Guirola, Jr.
                                on 4/15/2014 (wld) (Entered: 04/15/2014)



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